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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    VESTTOO LTD., et al.,1                                     Case No. 23-11160 (MFW)

                                      Debtors.                 (Jointly Administered)


                      NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
                     NOVEMBER 8, 2023, AT 10:30 A.M. (ET) IN COURTROOM 42


      THIS HEARING WILL BE CONDUCTED BY ZOOM AND REQUIRES ALL VIRTUAL
             PARTICIPANTS TO REGISTER AT LEAST 2 HOURS IN ADVANCE.

         PLEASE USE THE FOLLOWING LINK TO REGISTER IN ADVANCE FOR THIS
                                   HEARING:

      https://debuscourts.zoomgov.com/meeting/register/vJItd-CgrjkqHye5x_w7KroUGjbwU1nqrEM


                  YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM.

              AFTER REGISTERING, YOU WILL RECEIVE A CONFIRMATION EMAIL
                 CONTAINING INFORMATION ABOUT JOINING THE MEETING.



MATTERS BEING ADJOURNED:

1.           Motion for an Order Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC)
             LTD. and (II) The Putative Joint Provisional Liquidators of the Debtors' Segregated Accounts
             [D.I. 15; Filed 08/21/23].

             Response Deadline: September 13, 2023 at 4:00 p.m. (ET).

             Related Documents:

             A.     Declaration of R. Craig Martin in Support of Motion for an Order Enforcing the
                    Automatic Stay Against (I) White Rock Insurance (SAC) LTD. and (II) The Putative
                    Joint Provisional Liquidators of the Debtors' Segregated Accounts [D.I. 16; Filed


1
           Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be obtained
on the website of the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/vesttoo.
2
         Copies of all petitions, motions, and pleadings identified herein may be obtained free of charge through the
website of the Debtors’ proposed claims and noticing agent a https://dm.epiq11.com/vesttoot.
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      8/21/23].

B.    Declaration of Hannah Tildesley in Support of Motion for an Order Enforcing the
      Automatic Stay Against (I) White Rock Insurance (SAC) LTD. and (II) The Putative
      Joint Provisional Liquidators of the Debtors' Segregated Accounts [D.I. 17; Filed
      8/21/23].

C.    Declaration of John Wasty in Support of Motion for an Order Enforcing the Automatic
      Stay Against (I) White Rock Insurance (SAC) LTD. and (II) The Putative Joint
      Provisional Liquidators of the Debtors' Segregated Accounts [D.I. 18; Filed 8/21/23].

D.    Interim Order Regarding the Debtors’ Motion for an Order Enforcing the Automatic
      Stay Against (I) White Rock Insurance (SAC) Ltd. and (II) The Putative Joint
      Provisional Liquidators of the Debtors’ Segregated Accounts and Adjourning the
      Hearing Thereon [D.I. 47; Filed 8/24/23].

E.    Certification of Counsel Certification of Counsel Regarding Motion for an Order
      Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and (II)
      the Putative Joint Provisional Liquidators of the Debtors Segregated Accounts and
      Related Matters [D.I. 94; Filed 8/31/23].

F.    Order (SECOND INTERIM) (I) Regarding the Debtors' Motion for an Order Enforcing
      the Automatic Stay, (II) Further Adjourning the Hearing on the Debtors' Motion for an
      Order Enforcing the Automatic Stay, (III) Scheduling a Hearing on the Debtors' Motion
      for Finding of Contempt, and (IV) Scheduling the Hearing on the Joint Provisional
      Liquidators Request for Provisional Relief [D.I. 100; Filed 8/31/23].

G.    Certification of Counsel Certification of Counsel Regarding (I) the Debtors Motion for
      an Order Enforcing the Automatic Stay, and (II) Further Adjourning the Hearing On
      (A) the Debtors Motion for an Order Enforcing the Automatic Stay, (B) the Debtors
      Motion for Finding of Contempt, and (C) the Joint Provisional Liquidators Request for
      Provisional Relief [D.I. 117; Filed 9/6/23].

H.    Order (THIRD INTERIM) (I) Regarding the Debtors' Motion for an Order Enforcing
      the Automatic Stay and (II) Further Adjourning the Hearing on (A) the Debtors' Motion
      for an Order Enforcing the Automatic Stay, (B) the Debtors' Motion for Finding of
      Contempt, and (C) the Joint Provisional Liquidators' Request for Provisional Relief
      [D.I. 119; Filed 9/7/23].

I.    Notice of Adjournment of Hearing [D.I. 149; Filed 09/18/23].

Responses Received: Informal comments for the Office of the United States Trustee for
Region 3.

A.    [SEALED] White Rock Insurance (SAC) Ltd.'s Opposition to Motion for an Order
      Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and (II)
      the Putative Joint Provisional Liquidators of the Debtors' Segregated Accounts [D.I.
      65; Filed 8/29/23].

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B.     Declaration of David Zailer in Support of White Rock Insurance (SAC) Ltd.'s
       Opposition to Motion for an Order Enforcing the Automatic Stay against (I) White
       Rock Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators of the
       Debtors' Segregated Accounts [D.I. 66; Filed 8/29/23].

C.     Declaration of Renita Sharma in Support of White Rock Insurance (SAC) Ltd.'s
       Opposition to Motion for an Order Enforcing the Automatic Stay against (I) White
       Rock Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators of the
       Debtors' Segregated Accounts [D.I. 67; Filed 8/29/23].

D.     [SEALED] Declaration of Kyle Chan Masters in Support of White Rock Insurance
       (SAC) Ltd.'s Opposition to Motion for an Order Enforcing the Automatic Stay against
       (I) White Rock Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators
       of the Debtors' Segregated Accounts [D.I. 68; Filed 8/29/23].

E.     (REDACTED) White Rock Insurance (SAC) Ltd.'s Opposition to Motion for an Order
       Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and (II)
       the Putative Joint Provisional Liquidators of the Debtors' Segregated Accounts [D.I.
       69; Filed 8/29/23].

F.     (REDACTED) Declaration of Kyle Chan Masters in Support of White Rock Insurance
       (SAC) Ltd.'s Opposition to Motion for an Order Enforcing the Automatic Stay against
       (I) White Rock Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators
       of the Debtors' Segregated Accounts [D.I. 70; Filed 8/29/23].

G.     Response of Official Committee of Unsecured Creditors to Debtors': (A) Motion for an
       Order Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and
       (II) the Putative Joint Provisional Liquidators of the Debtors Segregated Accounts; and
       (B) Motion for an Order Finding (I) White Rock Insurance (SAC) Ltd. and (II) the
       Putative Joint Provisional Liquidators in Contempt of the Interim Order Regarding the
       Debtors Motion for an Order Enforcing the Automatic Stay Against (I) White Rock
       Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators of the Debtors
       Segregated Accounts and Adjourning the Hearing Thereon [D.I. 125; Filed 9/13/23].

H.     Joint Provisional Liquidators’ Limited Joinder to White Rock’s Opposition to and
       Response to Debtors’ Motion for an Order Enforcing the Automatic Stay Against (I)
       White Rock Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators
       of the Debtors’ Segregated Accounts [D.I. 128; Filed 09/13/23].

I.     Debtors’ Reply in Further Support of Their (A) Motion for an Order Enforcing the
       Automatic Stay, (B) Motion for Finding of Contempt, and (C) Objection to the Joint
       Provisional Liquidators’ Request for Stay Order Relief [D.I. 180; Filed 09/28/23].

J.     Motion of the Debtors for Leave to File Late Reply [D.I. 181; Filed 09/28/23].

Status: The Parties have agreed to adjourn the hearing on this matter to a date to be agreed by
the parties or ordered by the court.


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2.   Motion for an Order Finding (I) White Rock Insurance (SAC) Ltd. and (II) The Putative Joint
     Provisional Liquidators in Contempt of the Interim Order Regarding the Debtors' Motion for
     an Order Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and (II)
     The Putative Joint Provisional Liquidators of the Debtors' Segregated Accounts and
     Adjourning the Hearing Thereon [D.I. 89; Filed 08/30/23].

     Response Deadline: September 13, 2023 at 4:00 p.m. (ET).

     Related Documents:

     A.     Certification of Counsel Certification of Counsel Regarding Motion for an Order
            Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and (II)
            the Putative Joint Provisional Liquidators of the Debtors Segregated Accounts and
            Related Matters [D.I. 94; Filed 8/31/23].

     B.     Order (SECOND INTERIM) (I) Regarding the Debtors' Motion for an Order Enforcing
            the Automatic Stay, (II) Further Adjourning the Hearing on the Debtors' Motion for an
            Order Enforcing the Automatic Stay, (III) Scheduling a Hearing on the Debtors' Motion
            for Finding of Contempt, and (IV) Scheduling the Hearing on the Joint Provisional
            Liquidators Request for Provisional Relief [D.I. 100; Filed 8/31/23].

     C.     Certification of Counsel Certification of Counsel Regarding (I) the Debtors Motion for
            an Order Enforcing the Automatic Stay, and (II) Further Adjourning the Hearing On
            (A) the Debtors Motion for an Order Enforcing the Automatic Stay, (B) the Debtors
            Motion for Finding of Contempt, and (C) the Joint Provisional Liquidators Request for
            Provisional Relief [D.I. 117; Filed 9/6/23].

     D.     Order (THIRD INTERIM) (I) Regarding the Debtors' Motion for an Order Enforcing
            the Automatic Stay and (II) Further Adjourning the Hearing on (A) the Debtors' Motion
            for an Order Enforcing the Automatic Stay, (B) the Debtors' Motion for Finding of
            Contempt, and (C) the Joint Provisional Liquidators' Request for Provisional Relief
            [D.I. 119; Filed 9/7/23].

     E.     Notice of Adjournment of Hearing [D.I. 149; Filed 09/18/23].

     Responses Received:

     A.     Joint Provisional Liquidators' Opposition to Debtors' Motion for an Order Finding (I)
            White Rock Insurance (SAC) Ltd. and (II) the Joint Provisional Liquidators in
            Contempt of the Interim Order Regarding the Debtors' Motion for an Order Enforcing
            the Automatic Stay [D.I. 124; Filed 9/13/23].




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     B.     Response of Official Committee of Unsecured Creditors to Debtors': (A) Motion for an
            Order Enforcing the Automatic Stay Against (I) White Rock Insurance (SAC) Ltd. and
            (II) the Putative Joint Provisional Liquidators of the Debtors Segregated Accounts; and
            (B) Motion for an Order Finding (I) White Rock Insurance (SAC) Ltd. and (II) the
            Putative Joint Provisional Liquidators in Contempt of the Interim Order Regarding the
            Debtors Motion for an Order Enforcing the Automatic Stay Against (I) White Rock
            Insurance (SAC) Ltd. and (II) the Putative Joint Provisional Liquidators of the Debtors
            Segregated Accounts and Adjourning the Hearing Thereon [D.I. 125; Filed 9/13/23].

     C.     Joinder White Rock Insurance (SAC) Ltd.'s Joinder to Joint Provisional Liquidators'
            Opposition to Debtors' Motion for an Order Finding (I) White Rock Insurance (SAC)
            Ltd. and (II) the Joint Provisional Liquidators in Contempt of the Interim Order
            Regarding the Debtors' Motion for an Order Enforcing the Automatic Stay [D.I. 126;
            Filed 9/13/23].

     D.     Debtors’ Reply in Further Support of Their (A) Motion for an Order Enforcing the
            Automatic Stay, (B) Motion for Finding of Contempt, and (C) Objection to the Joint
            Provisional Liquidators’ Request for Stay Order Relief [D.I. 180; Filed 09/28/23].

     E.     Motion of the Debtors for Leave to File Late Reply [D.I. 181; Filed 09/28/23].

     Status: The Parties have agreed to adjourn the hearing on this matter to a date to be agreed by
     the parties or ordered by the court.

3.   Joint Provisional Liquidators’ Emergency Motion Seeking Clarification of Interim Orders (I)
     Regarding the Debtors’ Motion for an Order Enforcing the Automatic Stay and (II) Further
     Adjourning the Hearing on (A) The Debtors’ Motion for an Order Enforcing the Automatic
     Stay, (B) The Debtors’ Motion for Finding of Contempt, and (C) The Joint Provisional
     Liquidators’ Request for Provisional Relief [D.I. 158; Filed 09/22/23].

     Response Deadline: September 25, 2023 at 4:00 p.m. (ET).

     Related Documents:

     A.     Joint Provisional Liquidators' Motion for Entry of an Order Shortening the Notice
            Period for Consideration of the Joint Provisional Liquidators' Emergency Motion
            Seeking Clarification of Interim Orders (I) Regarding the Debtors' Motion for an Order
            Enforcing the Automatic Stay and (II) Further Adjourning the Hearing on (A) the
            Debtors' Motion for an Order Enforcing the Automatic Stay, (B) the Debtors' Motion
            for Finding of Contempt, and (C) the Joint Provisional Liquidators' Request for
            Provisional Relief [D.I. 159; Filed 09/22/23].

     B.     Order Shortening the Notice Period for Consideration of the Joint Provisional
            Liquidators' Emergency Motion Seeking Clarification of Interim Orders (I) Regarding
            the Debtors' Motion for an Order Enforcing the Automatic Stay and (II) Further
            Adjourning the Hearing on (A) the Debtors' Motion for an Order Enforcing the
            Automatic Stay, (B) the Debtors' Motion for Finding of Contempt, and (C) the Joint
            Provisional Liquidators' Request for Provisional Relief [D.I. 160; Filed 09/22/23].

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     C.     Notice of Hearing Regarding Joint Provisional Liquidators' Motion for Entry of an
            Order Shortening the Notice Period for Consideration of the Joint Provisional
            Liquidators' Emergency Motion Seeking Clarification of Interim Orders (I) Regarding
            the Debtors' Motion for an Order Enforcing the Automatic Stay and (II) Further
            Adjourning the Hearing on (A) the Debtors' Motion for an Order Enforcing the
            Automatic Stay, (B) the Debtors' Motion for Finding of Contempt, and (C) the Joint
            Provisional Liquidators' Request for Provisional Relief [D.I. 161; Filed 09/22/23].

     Responses Received:

     A.     White Rock Insurance (SAC) Ltd.'s Joinder to Joint Provisional Liquidators'
            Emergency Motion Seeking Clarification of Interim Orders (I) Regarding the Debtors'
            Motion for An Order Enforcing the Automatic Stay and (II) Further Adjourning the
            Hearing on (A) the Debtors' Motion for an Order Enforcing the Automatic Stay, (B)
            the Debtors' Motion for Finding of Contempt, and (C) the Joint Provisional Liquidators'
            Request for Provisional Relief [D.I.162; Filed 09/22/23].

     B.     Response of Official Committee of Unsecured Creditors to Joint Provisional
            Liquidators' Emergency Motion Seeking Clarification of Interim Orders (I) Regarding
            the Debtors' Motion for an Order Enforcing the Automatic Stay and (II) Further
            Adjourning the Hearing on (A) The Debtors' Motion for an Order Enforcing the
            Automatic Stay, (B) The Debtors' Motion for Finding of Contempt, and (C) The Joint
            Provisional Liquidators' Request for Provisional Relief [D.I. 165; Filed 09/25/23].

     C.     Debtors' Objection to Joint Provisional Liquidators' Emergency Motion Seeking
            Clarification of Interim Orders (I) Regarding the Debtors' Motion for An Order
            Enforcing the Automatic Stay and (II) Further Adjourning the Hearing on (A) The
            Debtors' Motion for an Order Enforcing the Automatic Stay, (B) The Debtors' Motion
            for Finding of Contempt, and (C) The Joint Provisional Liquidators' Request for
            Provisional Relief [D.I. 166; Filed 09/25/23].

     D.     Debtors’ Reply in Further Support of Their (A) Motion for an Order Enforcing the
            Automatic Stay, (B) Motion for Finding of Contempt, and (C) Objection to the Joint
            Provisional Liquidators’ Request for Stay Order Relief [D.I. 180; Filed 09/28/23].

     E.     Motion of the Debtors for Leave to File Late Reply [D.I. 181; Filed 09/28/23].

     Status: The Parties have agreed to adjourn the hearing on this matter to a date to be agreed by
     the parties or ordered by the court.

4.   Debtors' First Omnibus Motion for Entry of an Order (I) Authorizing the Debtors to Reject
     Certain Executory Contracts and Unexpired Lease Effective as of the Dates Specified Herein,
     (II) Abandon Any Remaining Property Located at Premises and (III) Granting Certain Related
     Relief [D.I. 185; Filed 09/29/23].

     Response Deadline: October 18, 2023, at 4:00 p.m. (ET).

     Related Documents:

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     Responses Received: None.

     Status: This matter is being adjourned to the hearing on November 21, 2023 as to contracts
     with Salesforce UK Limited, and an order respecting the other contracts and leases will be
     presented under a certificate of counsel.

5.   Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to (A) Maintain Their
     Insurance Coverage Entered Into Prepetition and Pay Related Prepetition Obligations, and (B)
     Renew, Supplement, Modify, or Purchase Insurance Coverage, and (II) Granting Related
     Relief [D.I. 213; Filed 10/13/23].

     Response Deadline: October 27, 2023, at 4:00 p.m. (ET).

     Related Documents:

     Responses Received:

     A.     Objection of the Official Committee of Unsecured Creditors to Motion of the Debtors
            for Entry of an Order (I) Authorizing the Debtors to (A) Maintain Their Insurance
            Coverage Entered Into Prepetition and Pay Related Prepetition Obligations, and (B)
            Renew, Supplement, Modify, or Purchase Insurance Coverage, and (II) Granting
            Related Relief [D.I. 283; Filed 10/27/23].

     Status: This matter is being adjourned to the hearing on November 21, 2023.

MATTERS WITH CERTIFICATIONS OF COUNSEL [C.N.O/C.O.C.]:

6.   Use of the Debtors’ Cash Management System, (II) Modifying Requirements of Section 345(b)
     of the Bankruptcy Code, and (III) Granting Related Relief [D.I. 11; Filed 08/18/23].

     Response Deadline: September 18, 2023, at 4:00 p.m. (ET).

     Related Documents:

     A.     Exhibit D to Motion of the Debtors for Entry of an Interim and Final Order (I)
            Authorizing the Continued Use of the Debtors’ Cash Management System, (II)
            Modifying Requirements of Section 345(b) of the Bankruptcy Code, and (III) Granting
            Related Relief [D.I. 13; Filed 08/18/23].

     B.     Certification of Counsel Regarding Order (I) Authorizing the Continued Use of the
            Debtors' Cash Management System, (II) Modifying Requirements of Section 345 of
            the Bankruptcy Code, and (III) Granting Related Relief [D.I. 38; Filed 08/23/23].

     C.     Order (INTERIM) (I) Authorizing the Continued Use of the Debtors Cash Management
            System, (II) Modifying the Requirements of Section 345, and (III) Granting Related
            Relief [D.I. 43; Filed 08/24/23].

     D.     Notice of Adjournment of Hearing [D.I. 149; Filed 09/18/23].

     E.     Certification of Counsel Regarding Second Interim Order (I) Authorizing the
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            Continued Use of the Debtors’ Cash Management System, (II) Modifying
            Requirements of Section 345 of the Bankruptcy Code, and (III) Granting Related Relief
            [D.I. 191; Filed 10/02/23].

     F.     Order (SECOND INTERIM) (I) Authorizing the Continued Use of the Debtors' Cash
            Management System, (II) Modifying Requirements of Section 345 of the Bankruptcy
            Code, and (III) Granting Related Relief [D.I. 193; Filed 10/02/23].

     G.     Certification of Counsel Regarding Third Interim Order (I) Authorizing the Continued
            Use of the Debtors’ Cash Management System, (II) Modifying Requirements of
            Section 345 of the Bankruptcy Code, and (III) Granting Related Relief [D.I. TBD; Filed
            11/__/23].

     Responses Received: None.

     Status: An order will be submitted for this matter under certification of counsel.

7.   Debtors' Second Omnibus Motion for Entry of an Order (I) Authorizing the Debtors to Reject
     Certain Executory Contracts and Unexpired Leases Effective as of the Dates Specified Herein,
     (II) Abandon Any Remaining Property Located at Premises and (III) Granting Certain Related
     Relief [D.I. 278; Filed 10/25/23].

     Response Deadline: November 1, 2023, at 4:00 p.m. (ET).

     Related Documents:

     A.     Certificate of No Objection Regarding Debtors' Second Omnibus Motion for Entry of
            an Order (I) Authorizing the Debtors to Reject Certain Executory Contracts and
            Unexpired Leases Effective as of the Dates Specified Herein, (II) Abandon Any
            Remaining Property Located at Premises and (III) Granting Certain Related Relief [D.I.
            365; Filed 11/6/23].

     Responses Received: None.

     Status: An order has been submitted for this matter under certificate of no objection, therefore,
     no hearing is necessary unless the Court has any comments or questions.

MATTERS GOING FORWARD:

8.   Application of the Debtors for Entry of an Order (I) Authorizing the Debtors to Retain and
     Employ DLA Piper as Counsel, Effective as of the Petition Date and (II) Granting Related
     Relief [D.I. 202; Filed 10/04/23].

     Response Deadline: October 18, 2023, at 4:00 p.m. (ET).

     Related Documents:

     A.     Supplemental Declaration of Craig Martin in Support of Application of the Debtors for
            Entry of an Order (I) Authorizing the Debtors to Retain and Employ DLA Piper as
            Counsel, Effective as of the Petition Date and (II) Granting Related Relief [D.I. TBD;
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             Filed 11/__/23].

      Responses Received: None.

      Status: This matter is going forward. Debtors will propose a revised form of order under
      certification of counsel or at the hearing.

9.    Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to Retain, Employ,
      and Compensate Professionals Utilized in the Ordinary Course of Business Pursuant to
      Retention Procedures and (II) Granting Related Relief [D.I. 263; Filed 10/19/23].

      Response Deadline: November 2, 2023, at 4:00 p.m. (ET).

      Related Documents: None.

      Responses Received:

      A.     Objection to Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors
             to Retain, Employ, and Compensate Professionals Utilized in the Ordinary Course of
             Business Pursuant to Retention Procedures and (II) Granting Related Relief [D.I. 356;
             Filed 11/2/23].

      Status: This matter is going forward. Debtors will propose a revised form of order under
      certification of counsel or at the hearing.

10.   [SEALED] Motion to Limit Exclusivity Period for Filing a Chapter 11 Plan and Disclosure
      Statement [D.I. 268; Filed 10/22/23].

      Response Deadline: November 1, 2023, at 4:00 p.m. (ET).

      Related Documents:

      A.     (REDACTED) Notice of Filing of Proposed Redacted Versions of (I) The Motion of
             the Official Committee of Unsecured Creditors Pursuant to Section 1121(d)(1) of the
             Bankruptcy Code for Entry of an Order Terminating Exclusive Periods for Debtors to
             Propose and Solicit Acceptances of a Plan, (II) Exhibits C and D to that Motion, and
             (III) the Declaration of Richard Newman in Support of that Motion [D.I. 269; Filed
             10/22/23].

      Responses Received:

      A.     Objection of the Debtors to the Motion of the Official Committee of Unsecured
             Creditors Pursuant to Section 1121(d)(1) of the Bankruptcy Code for Entry of an Order
             Terminating Exclusive Periods for Debtors to Propose and Solicit Acceptances of a
             Plan [D.I. 349; Filed 11/1/23].

      Status: This matter is going forward.



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11.   Motion to File Under Seal Motion of the Official Committee of Unsecured Creditors to (I)
      Authorize it to Redact and File Under Seal Certain Information Contained in the Motion of the
      Official Committee of Unsecured Creditors Pursuant to Section 1121(d)(1) of the Bankruptcy
      Code for Entry of an Order Terminating Exclusive Periods for Debtors to Propose and Solicit
      Acceptances of a Plan, as Well as in Documents Supporting that Motion, and (II) Require the
      Debtors to Demonstrate Why Such Information Requires Protection [D.I. 279; Filed 10/25/23].

      Response Deadline: November 1, 2023, at 4:00 p.m. (ET).

      Related Documents: See Above

      Responses Received: See Above

      Status: This matter is going forward.

12.   Motion of the United States Trustee for Entry of an Order Converting the Cases to Chapter 7
      Cases [D.I. 281; Filed 10/27/23].

      Response Deadline: November 7, 2023, at 4:00 p.m. (ET).

      Related Documents:

      A.     Motion to Shorten United States Trustee's Motion for Entry of an Order Shortening the
             Notice Period for Consideration and Limiting Notice of the United States Trustees
             Motion for Entry of an Order Converting the Cases to Chapter 7 Cases [D.I. 282; Filed
             10/27/23].

      B.     Order Granting Shortened Notice to Convert Case to Chapter 7 [D.I. 285; Filed
             10/30/23].

      C.     Notice of United States Trustee's Motion For Entry of An Order Converting the Cases
             To Chapter 7 Cases [D.I. 288; Filed 10/30/23].

      Responses Received:

      A.     Objection of the Debtors to the Motion of the United States Trustee for Entry of an
             Order Converting the Cases to Chapter 7 Cases [D.I. TBD]; Filed 11/[ ]/23].

      Status: This matter is going forward.



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Dated: November 6, 2023           DLA PIPER LLP (US)
       Wilmington, Delaware
                                  /s/ Stuart M. Brown
                                  R. Craig Martin (DE 5032)
                                  Stuart M. Brown (DE 4050)
                                  Matthew Sarna (DE 6578)
                                  1201 N. Market Street, Suite 2100
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 468-5700
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                                          stuart.brown@us.dlapiper.com
                                          matthew.sarna@us.dlapiper.com

                                  -and-

                                  Richard A. Chesley (admitted pro hac vice)
                                  444 West Lake Street, Suite 900
                                  Chicago, Illinois 666
                                  Telephone: (312) 368-4000
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                                  Email: richard.chesley@us.dlapiper.com

                                  Proposed Counsel for the Debtors




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